                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 3:13-00153
                                                    )      Judge Trauger
[1] DORIAN AYACHE                                   )

                                          ORDER

       It is hereby ORDERED that this case is set for a change of plea hearing as to this

defendant on Tuesday, August 19, 2014, at 11:00 a.m.

       It is so ORDERED.

       ENTER this 8th day of August 2014.



                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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